11/3/20, 8:05 AM

Fw: CDC seeks public comment on cruise operations in COVID-19 era

mps smith <mps1561@hotmail.com>

Mon 7/27/2020 6:58 PM
To: Martin Wilcox <martin.wilcox@na-atlas.com>

Marty,

| read this article which | received Friday with great interest because it is so relevant to the
last two emails | sent about adding a thermometer to our MOB wristband to constantly
monitor ones temperature. First, can it be done? Second, can it be added to the patent
application since it has already been submitted? Third, Could it speed up the patent process
as it directly relates to the pandemic?

The CDC is in a tough spot and asking for public input as to how these cruise ships can
safely begin cruising again while being able to quickly detect potential covid-19 and prevent
the spread. If we had two potentially life saving features in one wristband it could become
mandatory on all cruise ships. | see this as something that would be used indefinitely. | also
see no touch technology such as the wristbands becoming mandatory as well.

| hope you will read the article below and see the relevance to my inquiry. Time is of the
essence and a different approach may need to be taken. If you do not have time to address
this, could you please direct me to someone who can.

Melinda

httos://www.seatrade-cruise.com/news/breakthrough-opening-cdc-seeks-public-
comment-cruise-operations-covid-19-era

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